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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

UNITED STATES OF AMERICA,                       )
                                                )       Case No. 4:05CR00008-6
       Plaintiff,                               )
                                                )
v.                                              )              ORDER
                                                )
RICHIE JOHN HORVATH, III,                       )
                                                )       By: Jackson L. Kiser
       Defendant.                               )           Senior United States District Judge


       Before me now is the Defendant’s motion to reconsider my earlier ruling that he is not

entitled to claim immunity from prosecution. In accordance with the accompanying

Memorandum Opinion, I hereby DENY the Defendant’s Motion to Reconsider. Accordingly, a

judgment of conviction and commitment will be entered.

       The Clerk is directed to send a copy of this Order and accompanying Memorandum

Opinion to all counsel of record.

       Entered this 8th day of March, 2007.



                                              s/Jackson L. Kiser
                                              Senior United States District Judge
